Case 2:04-CV-02391-BBD-tmp Document 101 Filed 05/09/05 PagelofS Paoe

  

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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BARBARA wILLINGHAM, §YFFT;:§§E':[HQ“Y
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Plaintiff,

vB. NO. 04-2391-D

HOME TECH SERVICES CCMPANY,
et al.,

Defendants.

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ORDER OF TRANSFER

 

This case is hereby transferred to Magistrate Judge Tu Pham.
The suffix designation “V” following the case number shall be
changed to “P.” The parties are directed to include the new suffix
in all future pleadings.

In order to maintain parity among the judges, Judge Pham will
transfer a case to the undersigned magistrate judge.

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IT IS SO ORDERED this CbX' day of May, 2005

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 101 in
case 2:04-CV-02391 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

Page 3 of 3 Page|D 104

